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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

 CHRISTINA SMITH, as Personal
 Representative of the Estate of her son,
 Joshua Christopher England,

             Plaintiff,
 v.                                            Case No.: 19-cv-470-G

 JOE ALLBAUGH, CARL BEAR,
 ROBERT BALOGH, WENDELL MILES,
 LAURA HAYS, LAURA NOBLE,
 OKLAHOMA DEPARTMENT OF
 CORRECTIONS OFFICERS JOHN
 DOES #1-10, and CASE MANAGER
 RICHARD ROE,

              Defendants.

        MOTION FOR RELEASE OF JUVENILE RECORDS WITH BRIEF IN
      SUPPORT BY DEFENDANTS ALLBAUGH, BEAR, BALOGH, AND MILES

        For their Motion for Release of Juvenile Records with Brief in Support, Defendants

Joe Allbaugh, Carl Bear, Robert Balogh, and Wendell Miles (“Movants”) state the

following:

        1.     Movants respectfully request that this Court order the disclosure of certain

confidential child welfare records within the custody and control of the Oklahoma

Department of Human Services pursuant to 10A O.S. § 1-6-102(E).

        2.     Movants are officials and employees, or former officials and employees of

the Oklahoma Department of Corrections.

        3.     Plaintiff alleges that each of the defendants are individually liable for the

death of her son and seeks damages against Defendants for loss of consortium, grief, loss
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of companionship, lost earnings, etc. pursuant to 12 O.S. § 1053(B)(4)-(5). Upon

information and belief, Plaintiff is seeking these damages on behalf of herself and on behalf

of England’s biological father, Christopher Auvern.

       4.     The DHS records requested by Movants will contain information bearing on

each of these categories of damages. For example, the requested records will contain

evidence relating to Mr. England’s intellectual, emotional, and vocational aptitude. The

records are also expected to contain information relating to Mr. England’s health, habits,

and other activities bearing on his life expectancy. The requested records will also contain

information relating to Mr. England’s relationship and companionship with his parents.

       5.     There is evidence that Mr. England spent time in foster care estranged from

his parents. There is also evidence of discord and possible abuse by Plaintiff towards Mr.

England. If true, this would affect the magnitude of Plaintiff’s damages claims. The

requested records will contain information relating to Mr. England’s time in foster care and

his estrangement from Plaintiff and from Mr. Auvern. The records will also contain

information relating to any discord and/or alleged abuse inflicted upon Mr. England by

Plaintiff.

       6.     By bringing this wrongful death action, Plaintiff has put this information at

issue. Cf. Empey v. FedEx Ground Package Sys., Inc., No. CV 15-0815 KK/KBM, 2016

WL 10179244 (D.N.M. July 7, 2016).

       7.     Under 10A O.S. § 1-6-102(E), a court may, after a judicial review of the

records and determination of necessity, authorize the inspection, release, and disclosure of

otherwise confidential records when the records may be relevant to a civil proceeding.

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       8.     Movants seek the following records held by the Oklahoma Department of

Human Services:

              a. Records regarding investigations into any abuse or neglect of Joshua

                  England

              b. Records indicating findings of any abuse or neglect if Joshua England

              c. Records indicating the dates during which Joshua England was removed

                  from the custody of Christina Smith and the reason for each removal

              d. Records indicating the reasons for each removal

              e. Records relating to or describing any services offered or provided by the

                  Oklahoma Department of Human Services to Smith or England

              f. The full child welfare case file regarding Joshua England

       9.     These records are necessary to evaluate Plaintiff’s damages claims.

       10.    Movants also reasonably believe that these records will contain evidence that

will materially assist them in defending against Plaintiff’s damages claims.

       11.    Because the damages sought by Plaintiff are for an alleged wrongful death,

and could, if awarded, have a significant financial impact on Movants, each of the Movants

has a “compelling reason” for the release of the records under 10A O.S. § 1-6-102(E).

       12.    In addition, juvenile records are discoverable under the Federal Rules.

Casertano v. Kerwin, No. 3:09-CV-1853 CFD, 2011 WL 283990, at *2 (D. Conn. Jan. 24,

2011). This is particularly true in wrongful death and survival actions. Hamilton v. D.C.,

152 F.R.D. 426 (D.D.C. 1994). Rule 26(b)(1) permits discovery regarding any matter “that

is relevant to any party's claim or defense and proportional to the needs of the case.” Fed.

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R. Civ. P. 26(b)(1). Here, as set forth above, the requested records are relevant to Movants’

defense to Plaintiff’s damages claim. The records request is also proportional to the needs

of the case because the financial stakes in this wrongful death case are high, because

Movants have no way to access the requested records but through this process, because

producing the records will involve little to no burden to anyone, and because the contents

of the records will be used only for purposes of this civil action and will be secured from

unnecessary disclosure by the Stipulated Protective Order previously entered in this action.

[Doc. 132].

       13.    Movants’ counsel has conferred with Plaintiff’s counsel by telephone in a

sincere, good faith attempt to resolve this issue, but has been unable to reach an accord.

Movant’s counsel’s office is in Oklahoma City. Plaintiff’s counsel’s office is in New York

City. Thus, a personal conference was not feasible.

       WHEREFORE, Movants respectfully request that this Court: (1) enter an immediate

ex parte order compelling the Oklahoma Department of Human Services, Legal Services

Division, P.O. Box 25352, Oklahoma City, OK 73125-0352, to either produce the

requested records to this Court no later than April 24, 2023, or to file an objection prior to

that date; and (2) upon judicial review of the records, order the Oklahoma Department of

Human Services to produce the records to the parties in this action subject to the Stipulated

Protective Order [Doc. 132] previously entered.




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                                          Respectfully submitted,

                                          s/ Devan A. Pederson
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of April, 2023, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the
records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
the applicable ECF registrants.

                                                  /s Devan Pederson
                                                  Devan Pederson




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